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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


SPEECH FIRST, INC.,
                                 Plaintiff,


v.                                                  Civil Action 2:18-cv-11451-LVP-EAS


MARK SCHLISSEL, et al. ,

                              Defendants.


                      DECLARATION OF NICOLE NEILY

       1.     I am the President of Speech First, Inc. (“Speech First”).

       2.     Speech First is a nationwide membership organization of students, alumni,

and others that is dedicated to preserving civil rights secured by law, including the

freedom of speech guaranteed by the First Amendment to the U.S. Constitution. In

particular, Speech First seeks to protect the rights of students and others at colleges and

universities, through litigation and other lawful means.

       3.     Speech First has a number of members who are current students at the

University of Michigan (the “University”).

       4.     I am personally familiar with several of Speech First’s members at the

University.




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       5.     Speech First’s members at the University include sophomores, juniors,

seniors, and recently graduated students.

       6.     Speech First’s members hold a wide array of different views and opinions

on matters such as politics, race, religion, gender identity, abortion, gun rights,

immigration, foreign affairs, and countless other sensitive and controversial topics.

       7.     Speech First’s members want to be able to have open and vigorous

debates and discussions about these issues, both inside and outside the classroom. They

want to be able to speak provocatively and to use humor, satire, and parody, even when

discussing sensitive or controversial issues.

       8.     Yet Speech First’s members are afraid to voice their views out of fear that

their speech will be reported to the University as “harassment,” “bullying,” or a “bias

incident.” Speech First’s members fear that they will be investigated and/or punished

by the University for engaging in speech or expression that is protected by the First

Amendment.

       9.     Speech First has brought this suit to ensure that its members and other

students at the University will not face investigations or discipline for engaging in the

open and vigorous exchange of ideas that is at the core of the First Amendment merely

because a University official or another student finds their views “demeaning,”

“bothersome,” “exclusionary,” or “hurtful.”




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